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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:06CR19
                                               )
               Plaintiff,                      )
                                               )
               vs.                             )                    ORDER
                                               )
JUAN VARGAS,                                   )
                                               )
               Defendant.                      )

         This matter is before the Court on the Defendant's motion for leave to proceed in

forma pauperis (Filing No. 229).

         On May 10, 2011, the Eighth Circuit Court of Appeals dismissed the Defendant's

case for lack of prosecution, noting Defendant failed to pay the filing fee or renew his

motion to proceed in forma pauperis. The Eighth Circuit issued its mandate. Defendant

now seeks leave to proceed in forma pauperis, which has already been denied by this

Court.

         IT IS ORDERED:

         1.    The Defendant’s motion for leave to proceed in forma pauperis (Filing No.

               229) is denied; and

         2.    The Court is directed to mail a copy of this order to the Defendant at his last

               known address.

         DATED this 21st day of June, 2011.

                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   United States District Judge
